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                                 UNITED STATES BANKRUPTCY COURT
                                        Southern District of Ohio
                                         170 North High Street
                                       Columbus, OH 43215−2414



In     Erika Danielle Johnson                            Case No.: 2:19−bk−51217
Re:
                Debtor(s)                                Chapter: 13
SSN/TAX ID:
     xxx−xx−1728                                         Judge: C. Kathryn Preston




                             Order Dismissing Case For Failure to Pay Filing Fee


   An Order Denying Payment for Filing Fee in Installments was previously entered. A payment scheduled to be
made has not been received.

   All unpaid fees remain due and owing as of the date of the dismissal.

   Accordingly, this case is DISMISSED for failure to pay the required filing fee in accordance with
28 U.S.C. § 1930.


SO ORDERED.



Dated: March 19, 2019




                                                         C. Kathryn Preston
                                                         United States Bankruptcy Judge
